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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                           Case No. 6:22-cv-02075-RBD-LHP

   MARISSA GIANNERINI,

          Plaintiff,

   v.

   EMBRY-RIDDLE AERONAUTICAL
   UNIVERSITY, INC.,

          Defendant.

  _________________________________/

                NOTICE OF FILING DECLARATION OF TARAK ALY
                     CERTIFYING RECORDS PURSUANT TO
                       FEDERAL RULE OF EVIDENCE 902

         Defendant, EMBRY-RIDDLE AERONAUTICAL UNIVERSITY, INC.

  (“ERAU”), through its undersigned counsel, hereby gives notice of filing the

  Declaration of Tarak Aly Certifying Records Pursuant to Federal Rule of Evidence

  902 (attached hereto as Exhibit A).

         Dated: January 17, 2025


                                        /s/ Alana Zorrilla-Gaston
                                        Allison O. Kahn (FBN 496138)
                                        E-mail: akahn@carltonfields.com
                                        Alana Zorrilla-Gaston (FBN 27256)
                                        Email: agaston@carltonfields.com
                                        CARLTON FIELDS, P.A.
                                        525 Okeechobee Boulevard, Suite 1200
                                        West Palm Beach, FL 33401-6350
                                        Telephone: (561) 659-7070

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                                     Matthew J. Conigliaro (FBN 63525)
                                     E-mail: mconigliaro@carltonfields.com
                                     CARLTON FIELDS, P.A.
                                     4221 W. Boy Scout Blvd., Suite 1000
                                     Tampa, FL 33607
                                     Telephone: (813) 229-4254

                                     Daniel C. Johnson (FBN 522880)
                                     E-mail: djohnson@carltonfields.com
                                     CARLTON FIELDS, P.A.
                                     200 S. Orange Ave., Suite 1000
                                     Orlando, FL 32801
                                     Telephone: (407) 849-0300

                                     Attorneys for Defendant Embry-Riddle
                                     Aeronautical University, Inc.




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